    Case 20-03190-sgj Doc 82 Filed 02/02/21                 Entered 02/02/21 10:29:49              Page 1 of 3



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Local Counsel for Highland Capital Management, L.P.

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

In re:                                                           § Chapter 11
                                                                 §
HIGHLAND CAPITAL MANAGEMENT, L.P.,1                              § Case No. 19-34054-sgj11
                                                                 §
                                    Debtor.                      §
                                                                 §
HIGHLAND CAPITAL MANAGEMENT, L.P.,                               §
                                                                 §
                                    Plaintiff,                   §
                                                                 §
v.                                                               § Adv. Proc. No. 20-3190-sgj11
                                                                 §
JAMES D. DONDERO,                                                §
                                                                 §
                                     Defendant.                  §

                              NOTICE OF APPEARANCE AND REQUEST FOR
                               SERVICE OF NOTICES AND OTHER PAPERS


         Melissa S. Hayward with the law firm of Hayward PLLC, as counsel for Plaintiff Highland

Capital Management, L.P., appears in this adversary proceeding. Pursuant to Rules 2002 and 9007

of the Federal Rules of Bankruptcy Procedure, Ms. Hayward requests that all notices, motions,




1
 The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.


NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF NOTICES AND OTHER PAPERS                                 PAGE 1 OF 3
 Case 20-03190-sgj Doc 82 Filed 02/02/21            Entered 02/02/21 10:29:49        Page 2 of 3




pleadings, orders, plans, and disclosure statements filed, served, or entered in this case be served

upon the undersigned at the following address:

                                      Melissa S. Hayward
                                      MHayward@HaywardFirm.com
                                      HAYWARD PLLC
                                      10501 N. Central Expy, Ste. 106
                                      Dallas, Texas 75231

       This Notice of Appearance and Request for Service of Notices and Other Papers is not a

waiver of any rights, including, without limitation, the right: (i) to have final orders in non-core

matters entered only after de novo review by a judge of the appropriate United States District

Court; (ii) to trial by jury in any proceeding so triable in this case or any case, controversy, or

proceeding related to this case; and (iii) to have the United States District Court withdraw the

reference in any matters subject to mandatory or discretionary withdrawal.

       DATED: February 2, 2021.

                                              Respectfully submitted,

                                              HAYWARD PLLC

                                              By: /s/ Melissa S. Hayward
                                                  Melissa S. Hayward
                                                  Texas Bar No. 24044908
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                                              MANAGEMENT, L.P.




NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF NOTICES AND OTHER PAPERS                  PAGE 2 OF 3
 Case 20-03190-sgj Doc 82 Filed 02/02/21           Entered 02/02/21 10:29:49         Page 3 of 3




                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing Notice of Appearance has been
served electronically via the Court’s CM/ECF system upon all parties receiving electronic notice in
this case.


                                              /s/ Melissa S. Hayward
                                              Melissa S. Hayward




NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF NOTICES AND OTHER PAPERS                  PAGE 3 OF 3
